Case 2:03-cv-02939-.]DB-dkv Document 124 Filed 04/22/05 Page 1 of 3 Page|D 102
IN THE UNITED STATES DISTRICT COURT

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WESTERN DIVISION l l y

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ELLIPSIS, WC., W.D. OF TN, Mi:MPHlS

Plaintiff,
Vs.

Case No. 03-2939 BV

THE COLOR WORKS, INC.,

W\_/\_/\_/\~_/\_/\_/\_,/\_/

Defendant.

 

MODIFIED SCHEDULING ()RDER

 

lt appearing to the Court that the parties consent motion to modify or amend the

scheduling order is Well taken, it is hereby ORDERED that the following deadlines are

established:

TCW to Provide Afflrmative Expert Disclosures: May ]5, 2005
Ellipsis to Answer Amended Counterclaim: April 29, 2005
TCW to Provide Expert Reports (Affirmative and Rebuttal) June l7, 2005
Amending Pleadings or Joining Additional Parties: May 2, 2005
Ellipsis to Provide Rebuttal Expert Disolosures: June 15, 2005
Ellipsis to Provide Rebuttal Expert Reports: June 15, 2005
Close of Faot Discovery: July 15, 2005
Close of Expert Discovery: August l, 2005
Filing Dispositive Motions: August 19, 2005

These dates may not be modified absent Subsequent order of the Court.

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Case 2:03-cv-02939-.]DB-dkv Document 124 Filed 04/22/05 Page 2 cga§: NUP£QL§Y_ 1393

/5*“
lt is so ORDERED this g day of April, 2005.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 124 in
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Honorable .l. Breen
US DISTRICT COURT

